                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  S.B., a minor student, by and through his parents,   )
  M.B. and L.H. et al.,                                )
                                                       )
         Plaintiffs,                                   )
                                                       )
  v.                                                   )    No. 3:21-CV-00317-JRG-DCP
                                                       )
  GOVERNOR BILL LEE, in his official capacity          )
  as Governor of Tennessee,                            )
                                                       )
         Defendant.                                    )

                                              ORDER

         This matter is before the Court on Plaintiffs’ Reply to Defendant Lee’s Opposition to

  Plaintiffs’ Motion for Summary Judgment or Suggestion of Potential Mootness [Doc. 155], in

  which Plaintiffs agree with Governor Lee’s contention that his case is moot and may now “be

  concluded through the mootness doctrine,” [id. at 3]. By agreement of the parties, this case is

  hereby DISMISSED as moot, and all outstanding motions are DENIED as moot. The Clerk of

  Court is DIRECTED to close this case.

         So ordered.

         ENTER:



                                                      s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE




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